AO 245C (WDNC Rev. 02/11) Judgment in a Criminal Case


                                               UNITED STATES DISTRICT COURT
                                                        Western District of North Carolina
    UNITED STATES OF AMERICA                                           )   AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                       )   (For Offenses Committed On or After November 1, 1987)
               V.                                                      )
                                                                       )
    Alvin Dwight Fair                                                  )   Case Number: DNCW503CR00051-001
                                                                       )   USM Number: 19420-058
                                                                       )

    Filed Date of Original Judgment: 9/27/2006                         )   Ross Hall Richardson
    (Or Filed Date of Last Amended Judgment)
                                                                       )   Defendant’s Attorney

Reason for Amendment:
☐     Correction of Sentence on Remand (18 U.S.C. § 3742(f)(1)              ☐   Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or
      and (2))                                                                  3583(e))
☐     Reduction of Sentence for Changed Circumstances (Fed. R.              ☐   Modification of Imposed Term of Imprisonment for Extraordinary
      Crim. P. 35(b))                                                           and Compelling Reasons (18 U.S.C. § 3582(c)(1))
☐     Correction of Sentence by Sentencing Court (Fed. R. Crim. P.          ☐   Modification of Imposed Term of Imprisonment for Retroactive
      35(a))                                                                    Amendment(s) to the Sentencing Guidelines (18 U.S.C. §
                                                                                3582(c)(2))
☐     Correction of Sentence for Clerical Mistake (Fed. R. Crim . P.        ☒   Direct Motion to District Court Pursuant
      36)                                                                        ☒ 28 U.S.C. § 2255 Or ☐ 18 U.S.C. § 3559(c)(7)
THE DEFENDANT:
☐ Pleaded guilty to count(s).
☐ Pleaded nolo contendere to count(s) which was accepted by the court.
☒ Was found guilty on count(s) 1,7,8,9,10 & 11 after a plea of not guilty.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                                Date Offense
Title and Section           Nature of Offense                                                   Concluded                                     Counts
21:846                      Conspiracy to possess with intent to distribute, a quantity of      July 2003                                       1
                            cocaine base, a Sch. II controlled substance
21:841                      Possessing with intent to distribute, a quantity of cocaine base, a 6/11/03                                            7
                            Sch. II controlled substance                                        6/25/03                                            8
                                                                                                7/1/03                                            11
18:924(c)(1)                Using and carrying a firearm during and in relation to a            7/1/03                                             9
                            drug trafficking crime

        The Defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. §
3553(a). ☒ Count(s) 4 is dismissed on the motion of the United States. Count 10 is vacated in Order filed on
6/25/14.
IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant's economic circumstances.
                                                                      Date of Imposition of Sentence: 9/2/2014
                                                                                   Signed: September 10, 2014




                                                                                 Date: September 10, 2014



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                                                        IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
the Court’s original sentence will be reaffirmed in all respects except that the custodial portion will be ONE
HUNDRED THIRTY-FIVE (135) MONTHS FOLLOWED BY SIXTY (60) MONTHS MANDATORY CONSECUTIVE TME.

☐ The Court makes the following recommendations to the Bureau of Prisons:

☒ The Defendant is remanded to the custody of the United States Marshal.

☐ The Defendant shall surrender to the United States Marshal for this District:

           ☐ As notified by the United States Marshal.
           ☐ At on .

☐ The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           ☐ As notified by the United States Marshal.
           ☐ Before 2 p.m. on .
           ☐ As notified by the Probation Office.


                                                          RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                       United States Marshal
                                                                    By:
                                                                          Deputy Marshal




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                                                        STATEMENT OF ACKNOWLEDGMENT

I understand that my term of supervision is for a period of _______months, commencing on ____________________.

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.

I understand that revocation of probation and supervised release is mandatory for possession of a controlled substance,
possession of a firearm and/or refusal to comply with drug testing.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



(Signed)          ____________________________________ Date: _________________
                   Defendant

(Signed)          ____________________________________ Date: _________________
                   U.S. Probation Office/Designated Witness




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